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18     ASSOCIATES, LLC

19                          UNITED STATES DISTRICT COURT
20                        CENTRAL DISTRICT OF CALIFORNIA
21
      American Career College, Inc., a                 Case No. 2:21-CV-00698-PSG-SK
22    California corporation, and West Coast
      University, Inc., a California corporation
23
                         Plaintiffs,
24                                                     STIPULATED PROTECTIVE
                v.                                     ORDER
25
      Mario Oswaldo Medina, Sr. a/k/a Mario
26    Oswaldo Medina Ortiz, a/k/a Mario
27    Oswaldo Ortiz, a/k/a Mario M Ortiz, a/k/a
      Mario Oswaldo Medino a/k/a, Mario
28    Ortiz Medina, an individual; Roger
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     STIPULATED PROTECTIVE ORDER                                        CASE NO. 2:21-CV-698
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1     Adolfo Ortiz, a/k/a Roger Ortiz, a/k/a            Filed: January 26, 2021 (upon removal)
      Roger Aofl Ortiz, an individual; Rolando          FAC Filed: February 23, 2021
2     Valdivia, a/k/a Raul Valdez; a/k/a Raul
      Val, an individual; Únete Healthcare
3     Associates, L.L.C, doing business as
      Pronto Wellness, a California limited
4     liability company, and DOES 1 -100,
5     inclusive.

6                           Defendants.
7
8     1.        A. PURPOSES AND LIMITATIONS
9               Discovery in this action is likely to involve production of confidential,
10    proprietary, or private information for which special protection from public disclosure
11    and from use for any purpose other than prosecuting this litigation may be warranted.
12    Accordingly, the parties hereby stipulate to and petition the Court to enter the following
13    Stipulated Protective Order. The parties acknowledge that this Order does not confer
14    blanket protections on all disclosures or responses to discovery and that the protection
15    it affords from public disclosure and use extends only to the limited information or items
16    that are entitled to confidential treatment under the applicable legal principles. The
17    parties further acknowledge, as set forth in Section 12.3, below, that this Stipulated
18    Protective Order does not entitle them to file confidential information under seal; Civil
19    Local Rule 79-5 sets forth the procedures that must be followed and the standards that
20    will be applied when a party seeks permission from the court to file material under seal.
21              B.    GOOD CAUSE STATEMENT
22              This action involves trade secrets, customer and pricing lists and other valuable
23    research, development, commercial, financial, technical and/or proprietary information
24    for which special protection from public disclosure, disclosure to parties in the litigation
25    that are adverse to each other, and from use for any purpose other than prosecution of
26    this action is warranted. Such confidential and proprietary materials and information
27    consist of, among other things, confidential business or financial information,
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1     information regarding confidential business practices, or other confidential research,
2     development, or commercial information (including information implicating privacy
3     rights of third parties), information otherwise generally unavailable to the public,
4     federally protected personal identifying information, see 20 U.S.C. § 1232g; 34 C.F.R
5     § 99.30–.31, or which may be privileged or otherwise protected from disclosure under
6     state or federal statutes, court rules, case decisions, or common law. Accordingly, to
7     expedite the flow of information, to facilitate the prompt resolution of disputes over
8     confidentiality of discovery materials, to adequately protect information the parties are
9     entitled to keep confidential, to ensure that the parties are permitted reasonable
10    necessary uses of such material in preparation for and in the conduct of trial, to address
11    their handling at the end of the litigation, and serve the ends of justice, a protective order
12    for such information is justified in this matter. It is the intent of the parties that
13    information will not be designated as confidential for tactical reasons and that nothing
14    be so designated without a good faith belief that it has been maintained in a confidential,
15    non-public manner, and there is good cause why it should not be part of the public
16    record of this case.
17    2.        DEFINITIONS
18              2.1   Action: this pending federal lawsuit.
19              2.2   Challenging Party: a Party or Non-Party that challenges the designation of
20    information or items under this Order.
21              2.3   “CONFIDENTIAL” Information or Items: information (regardless of how
22    it is generated, stored or maintained) or tangible things that qualify for protection under
23    Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause
24    Statement. “ATTORNEYS’ EYES ONLY” is a subset of CONFIDENTIAL
25    Information or Items as enumerated in section 7.3.
26              2.4   Counsel: Outside Counsel of Record and House Counsel (as well as their
27    support staff).
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1               2.5   Designating Party: a Party or Non-Party that designates information or
2     items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL”
3     or “ATTORNEYS’ EYES ONLY.”
4               2.6   Disclosure or Discovery Material: all items or information, regardless of
5     the medium or manner in which it is generated, stored, or maintained (including, among
6     other things, testimony, transcripts, and tangible things), that are produced or generated
7     in disclosures or responses to discovery in this matter.
8               2.7   Expert: a person with specialized knowledge or experience in a matter
9     pertinent to the litigation who has been retained by a Party or its counsel to serve as an
10    expert witness or as a consultant in this Action.
11              2.8   House Counsel: attorneys who are employees of a party to this Action.
12    House Counsel does not include Outside Counsel of Record or any other outside
13    counsel.
14              2.9   Non-Party: any natural person, partnership, corporation, association, or
15    other legal entity not named as a Party to this action.
16              2.10 Outside Counsel of Record: attorneys who are not employees of a party to
17    this Action but are retained to represent or advise a party to this Action and have
18    appeared in this Action on behalf of that party or are affiliated with a law firm which
19    has appeared on behalf of that party, and includes support staff.
20              2.11 Party: any party to this Action, including all of its officers, directors,
21    employees, consultants, retained experts, and Outside Counsel of Record (and their
22    support staffs).
23              2.12 Producing Party: a Party or Non-Party that produces Disclosure or
24    Discovery Material in this Action.
25              2.13 Professional Vendors: persons or entities that provide litigation support
26    services (e.g., photocopying, videotaping, translating, preparing exhibits or
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1     demonstrations, and organizing, storing, or retrieving data in any form or medium) and
2     their employees and subcontractors.
3               2.14 Protected Material: any Disclosure or Discovery Material that is
4     designated as “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.”
5               2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
6     from a Producing Party.
7     3.        SCOPE
8               The protections conferred by this Stipulation and Order cover not only Protected
9     Material (as defined above), but also (1) any information copied or extracted from
10    Protected Material; (2) all copies, excerpts, summaries, or compilations of Protected
11    Material; and (3) any testimony, conversations, or presentations by Parties or their
12    Counsel that might reveal Protected Material.
13              Any use of Protected Material at trial shall be governed by the orders of the trial
14    judge. This Order does not govern the use of Protected Material at trial.
15    4.        DURATION
16              Even after final disposition of this litigation, the confidentiality obligations
17    imposed by this Order shall remain in effect until a Designating Party agrees otherwise
18    in writing or a court order otherwise directs. Final disposition shall be deemed to be the
19    later of (1) dismissal of all claims and defenses in this Action, with or without prejudice;
20    and (2) final judgment herein after the completion and exhaustion of all appeals,
21    rehearings, remands, trials, or reviews of this Action, including the time limits for filing
22    any motions or applications for extension of time pursuant to applicable law.
23    5.        DESIGNATING PROTECTED MATERIAL
24              5.1   Exercise of Restraint and Care in Designating Material for Protection.
25    Each Party or Non-Party that designates information or items for protection under this
26    Order must take care to limit any such designation to specific material that qualifies
27    under the appropriate standards. The Designating Party must designate for protection
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1     only those parts of material, documents, items, or oral or written communications that
2     qualify so that other portions of the material, documents, items, or communications for
3     which protection is not warranted are not swept unjustifiably within the ambit of this
4     Order.
5               Mass, indiscriminate, or routinized designations are prohibited. Designations that
6     are shown to be clearly unjustified or that have been made for an improper purpose
7     (e.g., to unnecessarily encumber the case development process or to impose
8     unnecessary expenses and burdens on other parties) may expose the Designating Party
9     to sanctions.
10              If it comes to a Designating Party’s attention that information or items that it
11    designated for protection do not qualify for protection, that Designating Party must
12    promptly notify all other Parties that it is withdrawing the inapplicable designation.
13              5.2   Manner and Timing of Designations. Except as otherwise provided in this
14    Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated
15    or ordered, Disclosure or Discovery Material that qualifies for protection under this
16    Order must be clearly so designated before the material is disclosed or produced,
17    provided however, that either party may seek to have documents and information
18    exchanged prior to the execution of this Agreement subsequently designated.
19              Designation in conformity with this Order requires:
20                    (a)    for information in documentary form (e.g., paper or electronic
21    documents, but excluding transcripts of depositions or other pretrial or trial
22    proceedings), that the Producing Party affix at a minimum, the legend
23    “CONFIDENTIAL”              or     “ATTORNEYS’          EYES       ONLY”        (hereinafter
24    “CONFIDENTIAL legend”), to each page that contains protected material. If only a
25    portion or portions of the material on a page qualifies for protection, the Producing Party
26    also must clearly identify the protected portion(s) (e.g., by making appropriate markings
27    in the margins).
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1               A Party or Non-Party that makes original documents available for inspection
2     need not designate them for protection until after the inspecting Party has indicated
3     which documents it would like copied and produced. During the inspection and before
4     the designation, all of the material made available for inspection shall be deemed
5     “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.” After the inspecting Party has
6     identified the documents it wants copied and produced, the Producing Party must
7     determine which documents, or portions thereof, qualify for protection under this Order.
8     Then, before producing the specified documents, the Producing Party must affix the
9     CONFIDENTIAL legend to each page that contains Protected Material. If only a
10    portion or portions of the material on a page qualifies for protection, the Producing Party
11    also must clearly identify the protected portion(s) (e.g., by making appropriate markings
12    in the margins).
13                    (b)   for testimony given in depositions that the Designating Party
14    identify the Disclosure or Discovery Material on the record, before the close of the
15    deposition all protected testimony.
16                    (c)   for information produced in some form other than documentary and
17    for any other tangible items, that the Producing Party affix in a prominent place on the
18    exterior of the container or containers in which the information is stored the legend
19    “CONFIDENTIAL” or “ATTORNEYS’ EYES ONLY.” If only a portion or portions
20    of the information warrants protection, the Producing Party, to the extent practicable,
21    shall identify the protected portion(s).
22              5.3   Inadvertent Failures to Designate. If timely corrected, an inadvertent
23    failure to designate qualified information or items does not, standing alone, waive the
24    Designating Party’s right to secure protection under this Order for such material. Upon
25    timely correction of a designation, the Receiving Party must make reasonable efforts to
26    assure that the material is treated in accordance with the provisions of this Order.
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1     6.        CHALLENGING CONFIDENTIALITY DESIGNATIONS
2               6.1   Timing of Challenges. Any Party or Non-Party may challenge a
3     designation of confidentiality at any time that is consistent with the Court’s Scheduling
4     Order.
5               6.2   Meet and Confer. The Challenging Party shall initiate the dispute
6     resolution process under Local Rule 37.1 et seq.
7               6.3   The burden of persuasion in any such challenge proceeding shall be on the
8     Designating Party. Frivolous challenges, and those made for an improper purpose (e.g.,
9     to harass or impose unnecessary expenses and burdens on other parties) may expose the
10    Challenging Party to sanctions. Unless the Designating Party has waived or withdrawn
11    the confidentiality designation, all parties shall continue to afford the material in
12    question the level of protection to which it is entitled under the Producing Party’s
13    designation until the Court rules on the challenge.
14    7.        ACCESS TO AND USE OF PROTECTED MATERIAL
15              7.1   Basic Principles. A Receiving Party may use Protected Material that is
16    disclosed or produced by another Party or by a Non-Party in connection with this Action
17    only for prosecuting, defending, or attempting to settle this Action. Such Protected
18    Material may be disclosed only to the categories of persons and under the conditions
19    described in this Order. When the Action has been terminated, a Receiving Party must
20    comply with the provisions of section 13 below (FINAL DISPOSITION).
21              Protected Material must be stored and maintained by a Receiving Party at a
22    location and in a secure manner that ensures that access is limited to the persons
23    authorized under this Order.
24              7.2   Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
25    ordered by the court or permitted in writing by the Designating Party, a Receiving Party
26    may disclose any information or item designated “CONFIDENTIAL” only to:
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1                     (a)   the Receiving Party’s Outside Counsel of Record in this Action, as
2     well as employees of said Outside Counsel of Record to whom it is reasonably
3     necessary to disclose the information for this Action;
4                     (b)   the officers, directors, and employees (including House Counsel) of
5     the Receiving Party to whom disclosure is reasonably necessary for this Action;
6                     (c)   Experts (as defined in this Order) of the Receiving Party to whom
7     disclosure is reasonably necessary for this Action and who have signed the
8     “Acknowledgment and Agreement to Be Bound” (Exhibit A);
9                     (d)   the court and its personnel;
10                    (e)   court reporters and their staff;
11                    (f)   professional jury or trial consultants, mock jurors, and Professional
12    Vendors to whom disclosure is reasonably necessary for this Action and who have
13    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
14                    (g)   the author or recipient of a document containing the information or
15    a custodian or other person who otherwise possessed or knew the information;
16                    (h)   during their depositions, witnesses, and attorneys for witnesses, in
17    the Action to whom disclosure is reasonably necessary provided: (1) the deposing party
18    requests that the witness sign the form attached as Exhibit 1 hereto; and (2) they will
19    not be permitted to keep any confidential information unless they sign the
20    “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise agreed
21    by the Designating Party or ordered by the court. Pages of transcribed deposition
22    testimony or exhibits to depositions that reveal Protected Material may be separately
23    bound by the court reporter and may not be disclosed to anyone except as permitted
24    under this Stipulated Protective Order; and
25                    (i)   any mediator or settlement officer, and their supporting personnel,
26    mutually agreed upon by any of the parties engaged in settlement discussions.
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 1              7.3   Disclosure of “ATTORNEYS’ EYES ONLY” Information or Items.
 2    Unless otherwise ordered by the court or permitted in writing by the Designating Party,
 3    a Receiving Party may disclose any information or item designated “ATTORNEYS’
 4    EYES ONLY” only to:
 5                    (a)    the Receiving Party’s Outside Counsel of Record in this Action, as
 6    well as employees of said Outside Counsel of Record to whom it is reasonably
 7    necessary to disclose the information for this Action;
 8                    (b)    House Counsel of the Receiving Party to whom disclosure is
 9    reasonably necessary for this Action;
10                    (c)    Experts (as defined in this Order) of the Receiving Party to whom
11    disclosure is reasonably necessary for this Action and who have signed the
12    “Acknowledgment and Agreement to Be Bound” (Exhibit A);
13                    (d)    the court and its personnel;
14                    (e)    court reporters and their staff;
15                    (f)    professional jury or trial consultants, mock jurors, and Professional
16    Vendors to whom disclosure is reasonably necessary for this Action and who have
17    signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
18                    (g)    the author or recipient of a document containing the information or
19    a custodian or other person who otherwise possessed or knew the information;
20                    (h)    any mediator or settlement officer, and their supporting personnel,
21    mutually agreed upon by any of the parties engaged in settlement discussions.
22    8.        PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
23    OTHER LITIGATION
24              If a Party is served with a subpoena or a court order issued in other litigation that
25    compels disclosure of any information or items designated in this Action as
26    “CONFIDENTIAL,” that Party must:
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 1                    (a)    promptly notify in writing the Designating Party. Such notification
 2    shall include a copy of the subpoena or court order;
 3                    (b)    promptly notify in writing the party who caused the subpoena or
 4    order to issue in the other litigation that some or all of the material covered by the
 5    subpoena or order is subject to this Protective Order. Such notification shall include a
 6    copy of this Stipulated Protective Order; and
 7                    (c)    cooperate with respect to all reasonable procedures sought to be
 8    pursued by the Designating Party whose Protected Material may be affected.
 9              If the Designating Party timely seeks a protective order, the Party served with the
10    subpoena or court order shall not produce any information designated in this action as
11    “CONFIDENTIAL” before a determination by the court from which the subpoena or
12    order issued, unless the Party has obtained the Designating Party’s permission. The
13    Designating Party shall bear the burden and expense of seeking protection in that court
14    of its confidential material and nothing in these provisions should be construed as
15    authorizing or encouraging a Receiving Party in this Action to disobey a lawful directive
16    from another court.
17    9.        A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
18    IN THIS LITIGATION
19                    (a)    The terms of this Order are applicable to information produced by a
20    Non-Party in this Action and designated as “CONFIDENTIAL.” Such information
21    produced by Non-Parties in connection with this litigation is protected by the remedies
22    and relief provided by this Order. Nothing in these provisions should be construed as
23    prohibiting a Non-Party from seeking additional protections.
24                    (b)    In the event that a Party is required, by a valid discovery request, to
25    produce a Non-Party’s confidential information in its possession, and the Party is
26    subject to an agreement with the Non-Party not to produce the Non-Party’s confidential
27    information, then the Party shall:
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 1                          (1)    promptly notify in writing the Requesting Party and the Non-
 2    Party that some or all of the information requested is subject to a confidentiality
 3    agreement with a Non-Party;
 4                          (2)    promptly provide the Non-Party with a copy of the Stipulated
 5    Protective Order in this Action, the relevant discovery request(s), and a reasonably
 6    specific description of the information requested; and
 7                          (3)    make the information requested available for inspection by
 8    the Non-Party, if requested.
 9                    (c)   If the Non-Party fails to seek a protective order from this court
10    within 14 days of receiving the notice and accompanying information, the Receiving
11    Party may produce the Non-Party’s confidential information responsive to the discovery
12    request. If the Non-Party timely seeks a protective order, the Receiving Party shall not
13    produce any information in its possession or control that is subject to the confidentiality
14    agreement with the Non-Party before a determination by the court. Absent a court order
15    to the contrary, the Non-Party shall bear the burden and expense of seeking protection
16    in this court of its Protected Material.
17    10.       UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
18              If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
19    Protected Material to any person or in any circumstance not authorized under this
20    Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing
21    the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve
22    all unauthorized copies of the Protected Material, (c) inform the person or persons to
23    whom unauthorized disclosures were made of all the terms of this Order, and (d) request
24    such person or persons to execute the “Acknowledgment and Agreement to Be Bound”
25    that is attached hereto as Exhibit A.
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 1    11.       INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
 2    PROTECTED MATERIAL
 3              When a Producing Party gives notice to Receiving Parties that certain
 4    inadvertently produced material is subject to a claim of privilege or other protection,
 5    the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
 6    Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
 7    may be established in an e-discovery order that provides for production without prior
 8    privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the
 9    parties reach an agreement on the effect of disclosure of a communication or
10    information covered by the attorney-client privilege or work product protection, the
11    parties may incorporate their agreement in the stipulated protective order submitted to
12    the court.
13    12.       MISCELLANEOUS
14              12.1 Right to Further Relief. Nothing in this Order abridges the right of any
15    person to seek its modification by the Court in the future.
16              12.2 Right to Assert Other Objections. By stipulating to the entry of this
17    Protective Order no Party waives any right it otherwise would have to object to
18    disclosing or producing any information or item on any ground not addressed in this
19    Stipulated Protective Order. Similarly, no Party waives any right to object on any
20    ground to use in evidence of any of the material covered by this Protective Order.
21              12.3 Filing Protected Material. A Party that seeks to file under seal any
22    Protected Material must comply with Civil Local Rule 79-5. Protected Material may
23    only be filed under seal pursuant to a court order authorizing the sealing of the specific
24    Protected Material at issue. If a Party’s request to file Protected Material under seal is
25    denied by the court, then the Receiving Party may file the information in the public
26    record unless otherwise instructed by the court.
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 1    13.       FINAL DISPOSITION
 2              After the final disposition of this Action, as defined in paragraph 4, within 60
 3    days of a written request by the Designating Party, each Receiving Party must return all
 4    Protected Material to the Producing Party or destroy such material. As used in this
 5    subdivision, “all Protected Material” includes all copies, abstracts, compilations,
 6    summaries, and any other format reproducing or capturing any of the Protected
 7    Material. Whether the Protected Material is returned or destroyed, the Receiving Party
 8    must submit a written certification to the Producing Party (and, if not the same person
 9    or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by
10    category, where appropriate) all the Protected Material that was returned or destroyed
11    and (2) affirms that the Receiving Party has not retained any copies, abstracts,
12    compilations, summaries or any other format reproducing or capturing any of the
13    Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
14    archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,
15    legal memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
16    work product, and consultant and expert work product, even if such materials contain
17    Protected Material. Any such archival copies that contain or constitute Protected
18    Material remain subject to this Protective Order as set forth in Section 4 (DURATION).
19    14.       Any violation of this Order may be punished by any and all appropriate measures
20    including, without limitation, contempt proceedings and/or monetary sanctions.
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 1    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 2
 3    Dated: October 19, 2021           DUANE MORRIS LLP
 4
 5                                      By: /s/ Edward M. Cramp
                                          Edward M. Cramp, Esq.
 6                                        Patricia P. Hollenbeck, Esq.
 7                                        Bryce A. Young, Esq.
                                          Attorneys for Plaintiffs
 8
 9
10    Dated: October 19, 2021           FENTON LAW GROUP LLP

11
12                                     By:        /s/ Nicholas Jurkowitz
                                         Nicholas D. Jurkowitz
13                                       Attorney for Defendants
14
      FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
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16
                     22 2021
      Dated: October __,
17                                         Honorable Steve Kim
18                                         United States Magistrate Judge

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     STIPULATED PROTECTIVE ORDER                                  CASE NO. 2:21-CV-698
Case 2:21-cv-00698-PSG-SK Document 41 Filed 10/22/21 Page 16 of 16 Page ID #:706




 1                                              EXHIBIT A
 2                    ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3              I, _________________________ [print or type full name], of _______________
 4    [print or type full address], declare under penalty of perjury that I have read in its
 5    entirety and understand the Stipulated Protective Order that was issued by the United
 6    States District Court for the Central District of California on [date] in the case of
 7    American Career College, Inc. et al. v. Mario Medina et al., 2:21-cv-00698-PSG-SK. I
 8    agree to comply with and to be bound by all the terms of this Stipulated Protective Order
 9    and I understand and acknowledge that failure to so comply could expose me to
10    sanctions and punishment in the nature of contempt. I solemnly promise that I will not
11    disclose in any manner any information or item that is subject to this Stipulated
12    Protective Order to any person or entity except in strict compliance with the provisions
13    of this Order.
14              I further agree to submit to the jurisdiction of the United States District Court for
15    the Central District of California for the purpose of enforcing the terms of this Stipulated
16    Protective Order, even if such enforcement proceedings occur after termination of this
17    action. I hereby appoint ____________________ [print or type full name] of
18    ______________________________ [print or type full address and telephone number]
19    as my California agent for service of process in connection with this action or any
20    proceedings related to enforcement of this Stipulated Protective Order.
21    Date:___________________________________
22    City and State where sworn and signed:________________________________
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24    Printed name:____________________________
25    Signature:_______________________________
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     STIPULATED PROTECTIVE ORDER                                              CASE NO. 2:21-CV-698
